Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 1 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 2 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 3 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 4 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 5 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 6 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 7 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 8 of 25
Case 18-80892-CRJ11   Doc 50     Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                               Document      Page 9 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 10 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 11 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 12 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 13 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 14 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 15 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 16 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 17 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 18 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 19 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 20 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 21 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 22 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 23 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 24 of 25
Case 18-80892-CRJ11   Doc 50 Filed 06/15/18 Entered 06/15/18 09:36:10   Desc Main
                            Document    Page 25 of 25
